                                              Case 17-50234-rlj7            Doc 1263 Filed 05/10/22 Entered 05/10/22 16:05:47                                      Desc
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                                                                   Individual Estate Property Record and Report
                                                                                    Asset Cases
Case No.:    17-50234                                                                                                            Trustee Name:        (631700) Kent Ries
Case Name:      LE-MAR HOLDINGS, INC.                                                                                            Date Filed (f) or Converted (c): 06/28/2019 (c)
                                                                                                                                 § 341(a) Meeting Date:       07/30/2019
For Period Ending:      05/10/2022                                                                                               Claims Bar Date: 01/02/2018

                                                    1                                     2                             3                            4                      5                          6

                                            Asset Description                          Petition/                Estimated Net Value           Property Formally         Sale/Funds                Asset Fully
                                 (Scheduled And Unscheduled (u) Property)            Unscheduled           (Value Determined By Trustee,         Abandoned            Received by the          Administered (FA)/
                                                                                        Values                Less Liens, Exemptions,        OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                          and Other Costs)                                                             Remaining Assets

    1       Asset Entered in Error (u)                                                              0.00                              0.00                                              0.00                        FA

    2       Asset Entered in Error (u)                                                              0.00                              0.00                                              0.00                        FA

    3       Asset Entered in Error (u)                                                              0.00                              0.00                                              0.00                        FA

    4       Asset Entered in Error (u)                                                              0.00                              0.00                                              0.00                        FA

    5       Equipment/vehicles                                                                      0.00                       150,000.00                                        86,530.00                          FA

    6       Asset Entered in Error                                                                  0.00                              0.00                                              0.00                        FA

    7       Asset Entered in Error                                                                  0.00                              0.00                                              0.00                        FA

    8       Asset Entered in Error (u)                                                              0.00                              0.00                                              0.00                        FA

    9       Asset Entered in Error                                                                  0.00                              0.00                                              0.00                        FA

    10      Asset Entered in Error (u)                                                              0.00                              0.00                                              0.00                        FA

    11      Accounts receivable (u)                                                                 0.00                              0.00                                      418,100.56                          FA

    12      Office equipment                                                                        0.00                              0.00                                              0.00                        FA

    13      Asset Entered in Error                                                                  0.00                              0.00                                              0.00                        FA

    14      Edwards Mail Service, Inc.                                                              0.00                              0.00                                              0.00                        FA

    15      Worker's Compensation claim (u)                                                         0.00                              0.00                                       95,389.04                          FA

    16      PREFERENCE LITIGATION (u)                                                               0.00                       100,000.00                                       184,500.00                   500.00

   16       Assets               Totals       (Excluding unknown values)                           $0.00                     $250,000.00                                     $784,519.60                    $500.00
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      Major Activities Affecting Case Closing:
                                    Multiple preference/fraudulent transfer adversaries resolved in 5/21. All paid but for three default judgments that are being reviewed for collectibility.

                                    Employee and other claims need to be reviewed. Payment of Chapter 11 administrative claims in process.

                                    Case to be consolidated with Edwards Mail Service, Inc. No. 1-50235.
                                    ASSET NOTES: Asset #'s 1-4, 6 and 8-10 were imported in error. Asset #'s 7 and 13 were scheduled in the prior Chapter 11, administered in that
                                    case and imported in error in the Chapter 7 case.


      Initial Projected Date Of Final Report (TFR):            12/31/2021                                   Current Projected Date Of Final Report (TFR):              06/30/2023


             05/10/2022                                                                                      /s/Kent Ries

                Date                                                                                         Kent Ries
